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 8                    UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     ANN FOX, INDIVIDUALLY AND                   ) Case No. 2:14-cv-02635-DMG (ASx)
11
     ON BEHALF OF ALL OTHERS                     )
12   SIMILARLY SITUATED,                         ) ORDER RE DISMISSAL OF
13
                                                 ) ACTION [12]
                 Plaintiff,                      )
14
                                                 )
15         vs.                                   )
                                                 )
16
     AUS, INC,                                   )
17                                               )
18
                 Defendant.                      )
                                                 )
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           IT IS HEREBY ORDERED that pursuant to the parties’ Stipulation and
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     Federal Rules of Civil Procedure 41(a)(1)(A)(ii), Plaintiff’s individual claims are
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     dismissed with prejudice and the putative class claims are dismissed without
23
     prejudice. The parties shall bear their own costs and fees.
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25
     DATED: July 30, 2014                     _______________________________
26
                                                     DOLLY M. GEE
27                                            UNITED STATES DISTRICT JUDGE
28




                                        Order to Dismiss - 1
